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                                                                          6                               IN THE UNITED STATES DISTRICT COURT
                                                                          7
                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   UNITED STATES OF AMERICA,                            No. CR 05-0167 WHA
                                                                         11
United States District Court




                                                                                             Plaintiff,
                                                                         12
                               For the Northern District of California




                                                                                v.                                                 ORDER APPOINTING COUNSEL
                                                                         13   DORNELL ELLIS,
                                                                         14                  Defendant.
                                                                         15                                       /

                                                                         16          Good cause appearing, Mark Goldrosen is hereby appointed pursuant to 18 U.S.C. 3005
                                                                         17   as learned counsel for defendant Dornell Ellis.
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                                                                         19          IT IS SO ORDERED.
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                                                                         21   Dated: July 15, 2005.
                                                                         22                                                     WILLIAM ALSUP
                                                                                                                                UNITED STATES DISTRICT JUDGE
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